           Case 3:15-cv-00271-JWD-EWD Document 42                   02/02/16 Page 1 of 3




                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

FREDDIE MARSALIS #451967                           :       CIVIL ACTION

                                                   :       NO. 15-271-JWD-EWD
VERSUS
                                                  :        JUDGE JOHN W. deGRAVELLES

RANDY LAVESPERE, ET AL.                           :        MAGISTRATE JUDGE ERIN
                                                           WILDER-DOOMES

MOTION FOR PARTIAL SUMMARY JUDGMENT ON BEHALF OF WARDEN BURL
               CAIN AND STEPHANIE LAMARTINIERE

           NOW INTO COURT, through undersigned counsel, come defendants, Warden Burl

Cain and Assistant Warden Stephanie Lamartiniere, who move this Honorable Court to grant

them summary judgment pursuant to FRCP Rule 56 on the following grounds:

                                                      1.

           Plaintiff filed suit pursuant to 42 U.S.C. § 1983 alleging deliberate medical indifference,

implementation and enforcement of unconstitutional policies, delegation of health care decisions

to unqualified personnel and denial of administrative remedy grievance.1

                                                      2.

           Plaintiff’s amended complaint fails to state a claim against them for a violation of his

civil rights.

                                                      3.

           The amended complaint also fails to state a claim upon which relief can be granted since

the defendants should be entitled to qualified immunity.




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    Rec. Docs. 1, 20 and 28.


                                                      1
        Case 3:15-cv-00271-JWD-EWD Document 42                    02/02/16 Page 2 of 3




                                                 4.

        The defendants are protected by 11th Amendment immunity.

                                                 5.

        Warden Cain and Assistant Warden Lamartiniere are not “persons” for the purposes of 42

U.S.C. §1983 liability on the claims asserted against them in their official capacities.

                                                 6.

        Plaintiff failed to exhaust administrative remedies on any claims asserted against Warden

Cain before filing suit in accordance with 42 U.S.C. § 1997(e). He also failed to exhaust

administrative remedies on the claim of implementation and enforcement of unconstitutional

policies.

                                                 7.

        As shown from the pleadings, the attached exhibits and Statement of Undisputed Facts,

there are no genuine issues of material fact.

                                                 8.

        Warden Cain and Assistant Warden Lamartiniere should be entitled to judgment in their

favor as a matter of law.

        WHEREFORE, Warden Burl Cain and Assistant Warden Stephanie Lamartiniere, pray

that this Motion be granted and this action against them be dismissed with prejudice at plaintiff's

cost.

                                                Respectfully submitted,

                                                JEFF LANDRY
                                                ATTORNEY GENERAL

                                                BY:    s/ Stacey Johnson
                                                       Stacey Johnson
                                                       Bar Roll No. 27331



                                                  2
       Case 3:15-cv-00271-JWD-EWD Document 42                   02/02/16 Page 3 of 3




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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2016, a copy of the foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. I also certify that I have mailed by United

States Postal Service, Certified Mail Return Receipt No. 7014 1200 0002 0919 2077, this filing

to the following non-CM/ECF participant:

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                                       s/ Stacey Johnson
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                                    Attorney for Defendants




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